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 1                           IN THE UNITED STATES DISTRICT COURT

 2                                FOR THE DISTRICT OF NEVADA

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 4
 5    UNITED STATES OF AMERICA,                      10-CR-00454-JCM-RJJ
 6                  Plaintiff,
                                                     ORDER GRANTING MOTION TO
 7    vs.                                            CONTINUE FILING OF PROPOSED
                                                     COMPLEX CASE SCHEDULE UNDER
 8                                                   LCR 16-1(a).
      FRANCISCO GARCIA, et al.,
 9
10                  Defendants.
11
12                                       ORDER
13          Based on the Government’s motion and good cause appearing, therefore, IT IS
14   ORDERED, that the parties herein shall have to and including OCTOBER 25, 2010, by the hour
15   of 4:00 p.m., within which to file a proposed complex case schedule under LCA 16-1(a).
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18                                              ______________________________
                                                Honorable Robert J. Johnston
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